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                                                                                     CLOSED


                               UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

____________________________________
                                    :
WARREN GORE,                        :
                                    :
                  Petitioner,       :
                                    :                 Crim. A. No. 90-304 (SRC)
v.                                  :
                                    :                 ORDER
UNITED STATES OF AMERICA,           :
                                    :
                  Respondent.       :
____________________________________:


Chesler, U.S.D.J.

       This matter having come before the Court on a motion by pro se Petitioner Warren Gore

seeking appointment of counsel [Docket Entry No. 36], and a motion filed by the United States

of America (hereinafter “the Government”) to dismiss [Docket Entry No. 33] a petition for relief

pursuant to the writ of audita querela, 28 U.S.C. § 1651, (“the Petition”) filed by Petitioner to

vacate, set aside or correct his sentence; and the Petitioner having opposed the Government’s

motion to dismiss; and the Court having considered the parties’ written submissions in

connection with these motions; and for the reasons expressed in the Opinion filed herewith,

       IT IS on this 20th day of February, 2009,

       ORDERED that the Government’s motion to dismiss the Petition [Docket Entry No. 33]

is GRANTED and the Petition is DISMISSED without prejudice; and it is further

       ORDERED that Petitioner’s application for appointment of counsel [Docket Entry No.

36] is DENIED; and it is further
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     ORDERED that this case is CLOSED.


                                              s/ Stanley R. Chesler
                                          STANLEY R. CHESLER
                                          United States District Judge
